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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

   PINK FLOYD (1987) LIMITED,
                                                          Case No. 1:19-cv-04276
          Plaintiff,
                                                          Judge Virginia M. Kendall
   v.
                                                          Magistrate Judge Young B. Kim
  THE PARTNERSHIPS AND
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE “A”,

          Defendants.

                              SATISFACTION OF JUDGMENT

        WHEREAS, a judgment was entered in the above action on August 20, 2019 [45] in favor

of Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this

judgment and hereby fully and completely satisfy the same as to the following Defendants:

                  NO.                                   DEFENDANT
                  242                               Fullcang Official Store


        THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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DATED: September 23, 2019                          Respectfully submitted,




                                                       ling Jiang
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                                                   Email: yanling@jiangip.com

                                                   ATTORNEY FOR PLAINTIFF


Subscribed and sworn before me by Yanling Jiang, on this 23rd day of September, 2019.

Given under by hand and notarial seal.



               OFFICIAL SEAL
             OLLIE B. JONES
        Notary Public - State of Illinois   Notary Public
      My Commission Expires 4/07/2022

                                            State of ::[,/II J1 o t S
                                            County of    CO tJ le.
